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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION




UNITED STATES OF AMERICA,                                       Case No. 3:12-cv-02265-SI

                       Plaintiff,                JOINT STATUS RERPOT

       v.

CITY OF PORTLAND,

                       Defendant.
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       The United States, through undersigned counsel, submits the following joint status report

on behalf of all Parties. Pursuant to the Court’s order regarding intervention (ECF #32), and the

Court’s approval of the Parties’ mediation agreement (ECF #35), the Parties began mediation on

March 15, 2013. The Parties have continued to engage in mediation since that time and have

scheduled mediation sessions past today’s due date for this status report. The Parties hereby

request that the Court extend the time for filing of a joint status report to Monday April 22, 2013.

       Respectfully submitted this 8th day of April, 2013.



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